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 6
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 8
 9                                          UNITED STATES DISTRICT COURT
10                                     NORTHERN DISTRICT OF CALIFO RNIA
11
     ARMADA BULK CARRIERS, LTD,         )                  Case No. C 05-3406 SC
12   a Foreign Corporation,             )
                                        )
13                 Plaintiff,           )                  DEFENDANT & COUNTERCLAIMANT
                                        )                  CONOCOPHILLIPS COMPANY’S
14   v.                                 )                  TRIAL BRIEF
                                        )
15   CONOCOPHILLIPS COMPANY, INC., )
     a Delaware Corporation, FOSS       )
16   MARITIME COMPANY, INC.,            )
     a Washington Corporation; FOSS     )
17   MARITIME BARGE 185 P3, in rem;     )
     SPAR SHIPHOLDING, AS, a Foreign    )
18   Corporation; M/V SPAR TW O, in rem )
                                        )
19                 Defendants.          )                  Pretrial Conf:   May 4, 2007
                                        )
20                                      )                  Trial:           May 7, 2007
     AND ALL RELATED COUNTERCLAIMS )
21                                      )                  Judge:           Hon. Samuel Conti
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 1               Defendant and Counterclaimant ConocoPhillips Company (“ConocoPhillips”)
 2   respectfully submits the following Trial Brief in connection with the trial presently
 3   scheduled to begin on May 7, 2007. Plaintiff and counterdefendant Arm ada Bulk
 4   Carriers, Ltd. (“Armada”) has dismissed defendant Spar Shipholding, AS, and has
 5   reportedly reached a settlement with defendant Foss Maritime Company (“Foss”).
 6                                          INTRODUCTION
 7               This action involves claims and counterclaims arising out of the June 2005 sale
 8   of bunker fuel to the time-charterers of a vessel engaged in international maritime
 9   commerce. Armada, as buyer, was represented by sophisticated international marine
10   fuels brokers, W orld Fuel Services, Inc. The contract was formed June 14 th for a June
11   20 th delivery. On June 16 th , Armada’s own Port Captain was in Stockton, California, to
12   conduct a survey of the vessel, M/V Spar Two (herein, sometimes, “Vessel”).
13               Relying upon an unwitnessed “drip sample” taken aboard the Vessel, Armada
14   has refused to pay any portion of the $189,906.73 invoice due to ConocoPhillips for 550
15   metric tons of heavy fuel oil sold to Armada and delivered to the M/V Spar Two. The
16   fuel oil has caused no injury to the vessel’s machinery or equipment. It was never
17   returned, but rather carried halfway around the world and debunkered — reportedly,
18   and oddly, for no consideration — in Piraeus, Greece, on September 18, 2005.
19               Armada contends the fuel oil failed to meet ISO 8217 specifications for
20   allowable concentrations of water, ash, aluminum, and silicon at the point it was
21   tendered for transfer to the delivery barge, Foss Barge 185 P3. Whether viewed as a
22   claim for failure to deliver conforming goods accepted by a buyer and never returned
23   (with or without effective revocation of acceptance) or as breach of a warranty of
24   description, the burden is upon Armada to show the fuel oil was nonconforming, or “off-
25   spec,” at the transfer point, viz. the ConocoPhillips Richmond Terminal load dock.
26   Armada offers no direct evidence, and nothing but inadmissable expert speculation, on
27   this issue.
28



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 1               Given the mobility of oceangoing vessels, their officers, and their crew, sellers
 2   of bunker fuel are wise to define in advance the fuel oil samples which will govern
 3   disputes and the claim presentation process. Here, ConocoPhillips did exactly that.
 4   Both a contractual conclusive presum ption of quality as well as Armada’s failure to
 5   com ply with conditions for presenting a fuel quality claim afford complete defenses to
 6   Arm ada’s claim of “off-spec” delivery. As a result, the full invoice amount is owed to
 7   ConocoPhillips, and Armada’s claims must be dismissed with prejudice.
 8                          CONOCOPHILLIPS PROOF OF PRODUCT QUALITY
 9               Armada does not contest the accuracy of the independent laboratory analyses
10   of fuel oil samples ordered by ConocoPhillips as part of Richmond Terminal’s normal
11   quality control procedures. As to these samples, Armada cannot and does not contend
12   any particular item exceeded ISO 8217 (viz. contract) specifications. Armada also has
13   offered no evidence of there being any “off-specification” fuel oil in the ConocoPhillips
14   chain of purchases, transport, storage, and delivery at any point prior to when the fuel
15   oil was actually onboard the M/V Spar Two.
16               By way of summary: Aboard the tanker M/T Sperchios, fuel oil destined for
17   shore tank 3927 tested 0.04% for ash, 4 ppm aluminum, and 10 ppm silicon. ISO 8217
18   specifications allow up to 1.0% water, 0.10% ash, and 80 ppm combined aluminum and
19   silicon. No ConocoPhillips sample exceeded these levels, or any other ISO 8217
20   specification. On the barge Columbia, in transport from the M/T Sperchios to Richmond
21   Terminal, the water tested 0.2%. The Rodeo refinery HSCAT added to this fuel in tank
22   3927 on June 2, 2005, by its nature does not contain elevated levels of aluminum or
23   silicon.
24               On June 6, 2005, after blending and before delivery, Columbia Inspection
25   obtained an upper-middle-lower composite sample. W ater was 0.15% and ash was
26   0.069%. The nature of the tests run, and the results, of this June 6, 2005, analysis were
27   provided essentially verbatim to Armada’s broker on June 14, 2005, prior to forming the
28   contract of sale. No further analyses were requested by Armada or its broker.



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 1               Samples taken by Columbia Inspection on June 20, 2005 — immediately prior
 2   to the barge delivery — from shore tanks 3927 and 3944 were combined in the
 3   laboratory in a 95% - 5% composite ratio (the same as the barge-blend delivery itself)
 4   and tested 0.3% for water, 13 ppm silicon, and 13 ppm aluminum on June 29, 2005.
 5   Samples taken by Columbia Inspection from each of the four Foss Barge 186 P3
 6   com partm ents after loading, then com bined in equal proportions in the laboratory, were
 7   tested as a composite on June 29, 2005. Water was 0.3%, aluminum 5 ppm, and
 8   silicon 12 ppm.
 9               Finally, corroborating the accuracy of Columbia Inspection’s barge composite
10   sample described above, the hand composite created in the field and delivered to Foss
11   Maritime was tested by BSI Inspectorate on July 6, 2005. Water was 0.4%, aluminum
12   7 ppm, silicon 18 ppm, and ash 0.052%.
13
                                            LEGAL ARGUMENT
14
     A.          The Samples Obtained by ConocoPhillips Are Binding on the
15               Buyer, Which Armada Admits Met All ISO 8217 Specifications.
16               Parties to a commercial contract of sale — particularly one between m erchants
17   — are generally free to define the rules governing the resolution of their disputes. Here,
18   ConocoPhillips did so quite plainly, and the Court is required to give those provisions
19   their full effect. See, e.g., Foster Wheeler Energy Corp. v. An Ning Jiang M/V, 383 F.3d
20   349, 354-55 (5 th Cir. 2004) (federal courts sitting in admiralty should give full effect to
21   the plain meaning of the parties’ written agreement).
22               Under the contract of sale as affirmatively alleged in pleadings by both parties,
23   marine fuel quality is to be conclusively determined by samples taken by the seller, or
24   by an independent inspector, in accordance with the seller’s normal procedures at the
25   port of delivery. Armada does not contend ConocoPhillips failed to adhere to its normal
26   quality control practices. Rather, Armada attempts to rewrite the agreement to require
27   that ConocoPhillips conform to Armada’s after-the-fact view of “industry practices.”
28



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 1               Armada now insists that better, “more representative,” samples could and
 2   should have been taken. That objection, itself remarkably hypertechnical on the facts
 3   of this case, was waived long ago. Armada failed to avail itself of the contractual right
 4   to jointly appoint (and share the cost of) a different inspection firm. Armada also made
 5   no advance inquiries, requests, or objections, between June 14 and 20, 2005, about the
 6   sampling methods. Most importantly, Armada did not attend and witness, and certainly
 7   did not properly object in writing or otherwise, to the sampling methods employed.
 8               The parties’ agreement does not by its language require a “representative”
 9   sample be drawn, primarily because given the varying contexts and circumstances,
10   “representative” means different things to different individuals. No particular American
11   Society for Testing and Materials (“ASTM”) alternative method of sampling is specified.
12   The barge sam ples drawn by Columbia Inspection actually captured product from the
13   portions of the load most likely to contain contaminants, if they were present. Columbia
14   Inspection and ConocoPhillips have thus provided evidence that the “worst case
15   scenario” was well within acceptable levels of these contaminants.
16               The parties’ written contract refers plainly to ConocoPhillips’s normal
17   procedures, and requires that a buyer lodge timely written objections to sampling
18   procedures.           Armada did not do so, is deemed to have waived such objections.
19   ConocoPhillips is fully prepared to show its product met all specifications, but it never
20   bargained for having to bear the expense of a lengthy trial over multifaceted, nonbinding
21   “industry practices” as the cost for getting paid on its invoice.
22   B.          Armada Cannot Establish Its Compliance With Each of the
                 Conditions Under The Contract of Sale for Making a Fuel Quality
23               Claim.
24               ConocoPhillips requires, as conditions to a buyer making a fuel quality claim,
25   that certain critical bunkers history documentation be provided to ConocoPhillips by the
26   buyer. In other words, ConocoPhillips does not limit its recourse to litigation discovery
27   remedies. It provides that inadequately-documented claims are substantively defective
28   in the same manner a shortened contractual statute of limitations makes claims



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 1   defective. ConocoPhillips is wise to insist upon this documentation given the mobility
 2   of vessels and witnesses — well beyond the courts’ subpoena power — and the ease
 3   with which bunker fuel can be commingled onboard a vessel. As an example of the
 4   difficulties of proof, even intrigue, sometimes associated with fuel oil disputes in a
 5   maritime setting, the Court is respectfully referred to the decision in Armada Supply, Inc.
 6   v. S/T Agios Nikolas, 613 F.Supp. 1459 (S.D.N.Y. 1985).
 7               Section 7(B) of the “Marine Fuels Purchase/Sale Addendum” requires the buyer
 8   to provide accurate details of quantities and locations of all bunkers onboard the vessel
 9   together with the quantity, quality, product specifications, and the date, place, and
10   identity of each supplier of the three (3) preceding deliveries. This is a heavy fuel oil
11   claim, not a marine diesel fuel transaction. ConocoPhillips is entitled to an accurate,
12   logical, complete explanation of the three prior fuel oil deliveries to the M/V Spar Two.
13   Armada at different times has provided some information, but has otherwise materially
14   failed to satisfy this condition to making its claim.
15               ConocoPhillips will show at trial that Armada’s incomplete and inaccurate
16   production of relevant documentation defeats Armada’s claim. For example, why (and
17   with what) did the M/V Spar Two commingle ConocoPhillips’s bunkers at time of
18   delivery? There were 23 metric tons of some unidentified product already in Tank 1C
19   on June 20th . In view of the fact fuel oil Tank 4P had been used for storing sludge, what
20   was the nature, origin, and transfer history of the 35 cubic meters of material in that tank
21   on June 16th ? The Vessel’s logs indicate Tank 4P had been fully emptied back in
22   March 2005, and there is no record of any transfers into that tank between March and
23   June, 2005.
24               In reverse chronological order, the first immediately-preceding fuel oil delivery
25   involved 620 cubic meters acquired in Thailand on May 15, 2005. All of that fuel oil
26   went into Tank 3C; most of it was consumed. It was not transferred to any other tank
27   according to the Vessel’s logs. Therefore, that fuel oil was not the 23 cubic meters in
28   Tank 1C or the 35 cubic meters in 4P on June 20th . The claim documentation provided



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 1   by Armada as to the second and third immediately-preceding deliveries of fuel oil is
 2   wholly inadequate, and severely handicaps ConocoPhillips in this litigation.
 3               The M/V Spar Two’s engine room logs provide conflicting information with
 4   respect to the Vietnam bunkers. The Engine Room Log reflects a March 25, 2005,
 5   delivery (consistent with the terminal’s documentation), but the Oil Record Book reflects
 6   an April 1 st delivery into a nonexistent tank. Assuming, first, a record-keeping error (as
 7   to dates and “2P” being “2C”), then only two deliveries, not three, have been
 8   documented — Vietnam once and Thailand once.
 9               If there were two separate Vietnam deliveries, then no documents concerning
10   the April 1 st bunkers have been provided.               Of course, if the Vessel obtained two
11   deliveries in Vietnam , then the integrity of the Vessel’s logs is called sharply into
12   question. There would had to have been debunkering activities never recorded or
13   owned up to.              This scenario would suggest the Vessel has committed fraud in
14   connection with several bunker transactions and as against two subcharterers.
15               Finally, Armada’s experts apparently challenge the representiveness of the
16   barge com posite sam ple which, by the contract of sale, is dispositive. Results of tests
17   on that sample have been repeated by a second laboratory’s testing of the sealed
18   sample given to the barge company. ConocoPhillips is confident that, if Armada and
19   the Vessel had maintained safe-keeping of the third sealed barge sample — delivered
20   to the Vessel and then brought ashore — allowing it also to be tested, that sample
21   would again corroborate the accuracy of the two other samples. That evidentiary
22   opportunity was lost when Armada and the Vessel inexcusably failed to preserve this
23   the sample, failing to satisfy another condition to its making this claim.
24   C.          Armada Cannot Meet Its Burden of Showing That the Quality of the
                 Fuel Oil Upon Conveyance of Title Failed to Meet Contract
25               Specifications.
26               All laboratory analyses of fuel oil samples taken prior to transfer of title and risk
27   (as well as immediately after) demonstrate that the fuel oil delivered to Arm ada met all
28   contract specifications.               As explained in ConocoPhillips’s Daubert challenge to



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 1   Arm ada’s experts’ opinions, Armada does little more than attem pt to create a
 2   “reasonable doubt,” as it were, as to whether ConocoPhillips ever fully ruled out the
 3   possibility it might have had off-specification fuel oil somewhere in its storage and
 4   delivery chain.
 5               This is a civil suit.        Armada must affirmatively establish the existence of
 6   shoreside contaminated fuel oil and its delivery to the Vessel. The burden is not upon
 7   ConocoPhillips to establish that every discrete barrel of the load — as distinguished
 8   from the various sampled portions — met specifications. Under applicable law, by
 9   accepting delivery and not returning purportedly nonconforming goods, Arm ada’s sole
10   remedy is for breach of warranty, as to which Armada has the burden of proof.
11               Uniform Commercial Code § 2-607 provides in pertinent part as follows:
12                         (1)       They buyer must pay at the contract rate for any
                                     goods accepted.
13
                                                        ***
14
                           (2)       The burden is on the buyer to establish any breach
15                                   with respect to the goods accepted.
16               Arm ada’s pleadings are confusing, to say the least, in seeking to recover the
17   contract price, which admittedly it has never paid. Under the Uniform Comm ercial
18   Code, however, Armada is first liable to ConocoPhillips for the full contract price under
19   UCC § 2-709(1)(a). It is then free to raise, by way of setoff, a claim for breach of
20   warranty on which it bears the burden of proof. Arm ada has not designated an expert
21   to opine on the difference between market value as warranted and market value as to
22   that which Armada alleges was delivered. See UCC § 2-714(2)
23               A seller of goods has a duty to tender conforming goods for delivery at the point
24   title and risk are conveyed. See, e.g., Chicago Prime Packers v. Northern Food Trading
25   Co., 408 F.3d 894, 898 (7 th Cir. 2005). Here, that meant the fuel oil was not to exceed
26   acceptable levels of water, aluminum, silicon, and ash when passing the permanent
27   flange of the Foss Barge 185 P3. A warranty of description under UCC § 2-313(1)(b)
28   is breached, if at all, based upon the condition and quality of goods when tendered for



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 1   delivery, whether or not the breach is discovered later or causes damage later. (This
 2   action does not involve a warranty of future performance, which ConocoPhillips
 3   expressly disclaimed.) On the facts of this case, this creates two evidentiary challenges
 4   for Armada, which Armada is unprepared to meet with admissible evidence in proper
 5   form.
 6                 First and foremost, Armada must come forward with admissible evidence that
 7   there was contaminated fuel oil at the Richmond Terminal — elevated both in water and
 8   in metals — which could possibly have been delivered to the M/V Spar Two. Armada
 9   cannot rely upon pure speculation, whether in the form of expert opinion testimony or
10   otherwise. Armada received notice of the Vessel’s fuel oil sample’s analysis within
11   several days of the delivery. Experienced brokers and attorneys quickly became
12   involved. Information was exchanged informally and cooperatively. Armada could have
13   sought and obtained third-party information relevant to potential shoreside sources of
14   contamination, assuming such sources ever existed. It failed to do so.
15                 Mistakenly believing the M/V Spar Two had obtained a proper MARPO L Annex
16   VI sam ple, and mistakenly believing it can now rewrite the parties’ commercial contract
17   of sale, Armada improperly attempts to inject international MARPOL Annex VI
18   Guidelines into this purely commercial dispute.1 A vessel’s MARPOL sample and a
19   “commercial sample” are entirely distinct.          MARPOL international treaties and
20   corresponding United States implementing statutes and regulations do not legislate the
21   commercial terms of bunker fuel sales and do not provide a private right of action.
22   Armada can point to no agreement between itself and ConocoPhillips where the parties
23   made any “MARPOL sam ple,” or any vessel sample, either relevant or determinative
24
25
               1
             Granted, if for some unusual reason, the United States Coast Guard or a foreign
26   MARPOL enforcement agency were to have cited the M/V Spar Two for illegal emissions
     connected to the ConocoPhillips bunkers, the parties’ respective MARPOL compliance
27   obligations — by law and by contract — might well have become relevant. That is not the
     case before the Court, however. Also, at the most fundamental level, Armada has failed to
28   offer admissible evidence through a declarant with personal knowledge to establish the
     vessel’s full compliance with MARPOL Annex VI Guidelines, including joint sample witnessing.


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 1   in a commercial fuel quality dispute.2
 2                 It is presently entirely unclear how Armada intends to establish a foundation for
 3   admission of the laboratory analysis of the Vessel “drip sample,” or any other Vessel
 4   sample.         Armada produced no declarations on personal knowledge in opposing
 5   ConocoPhillips’s Motion for Summary Judgment in order to explain the prior use and
 6   contents of the Vessel’s pipeline, the nature of the sampling “equipment,” the collection
 7   of the sample, and the chain of custody thereafter. This is a critical item of evidence for
 8   Armada which cannot be slipped into evidence under Fed.R.Evid. 703. See, e.g.,
 9   Turner v. Burlington Northern Sante Fe R. Co., 338 F. 3d 1058, 1060-61 (9 th Cir. 2003).
10                 Purportedly to “preserve evidence” — jointly against ConocoPhillips — Armada
11   and its subcharterer, Bulkhandling Handysize, conducted “depositions” aboard the M/V
12   Spar Two in Kalama, W ashington, on July 6 and 7, 2005. ConocoPhillips was not
13   present.          No effort was made to comply with Fed.R .Civ.P. 27(a).               At best,
14   ConocoPhillips was asked to implicitly stipulate to the “depositions” by an email
15   message to Houston after close of business the day before the depositions. Obviously
16   ConocoPhillips did not so stipulate.
17                 During the pendency of this action, Armada’s counsel freely communicated with
18   at least the most important of these same individuals, the Chief Engineer. He talked
19   about conducting their depositions, but never did so. These witnesses all reside in India
20   or are at sea, well beyond the Court’s subpoena power. The July 2005 “depositions,”
21   however, were markedly incomplete, more friendly and leading than adversarial. The
22   transcripts of those proceedings are not admissible against ConocoPhillips.
23                 Finally, going well outside the pleadings and the contract between the parties,
24   Armada declares the “drip sample” to be a “MARPOL sample” binding on the parties.
25   ConocoPhillips received no advance notice of this position, which contradicts the
26
               2
              Ironically, Armada has made no effort to explain the several discrepancies appearing
27   in the M/V Spar Two’s Oil Record Book despite strict MARPOL and United States regulations
     governing this area of ship operations. See, e.g., United States v. Abrogar, 459 F.3d 430 (3rd
28   Cir. 2006) (appeal from sentencing following guilty plea to violation of 33 U.S.C. § 1908(a), for
     failure to keep an accurate Oil Record Book).


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 1   contract of sale and would have required ConocoPhillips to send a representative out
 2   by barge to witness the sample. The Vessel does not have proper sampling equipment,
 3   and did not follow MARPOL Guidelines, a copy of which is attached hereto for the
 4   Court’s reference. Guidelines 3.3, 3.4, 4, 5.1, 5.2, 5.3, 6, 7.2, and 8.1 all appear to have
 5   been violated by the Vessel.
 6               The Guidelines specifically state: “This sample is to be used solely for
 7   determination of compliance with Annex VI of MARPO L 73/78.” Granted, if sufficient
 8   primary sam ple product is available, by agreement the parties could have provided that
 9   a similarly-obtained sample governs fuel quality disputes as well. Here, the parties
10   simply did not so agree.               The so-called “MARPOL drip sample” is substantively
11   irrelevant in the action before this Court.
12
     D.          Judgment Can and Should Be Entered in Favor of ConocoPhillips
13               on All Claims and Counterclaims Between the Parties.
14               Even though Armada never paid the $189,000 contract price to ConocoPhillips,
15   Armada filed suit first, seeking damages of $189,000 without having ever paid that sum.
16   Amended twice, Armada’s complaint each time has raised the same three claims for
17   relief against ConocoPhillips. First, Armada seeks damages for “breach of contract” on
18   the basis of one alleged breach — delivery of fuel oil exceeding specifications for water,
19   ash, aluminum, and silicon. Second, Armada seeks damages for breach of warranty
20   on the same factual basis. Third, Armada seeks damages for negligence on the same
21   factual theory.           The tort claim is barred by the “economic loss rule.”   East River
22   Steamship Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 106 S.Ct. 2295, 90
23   L.Ed.2d 865 (1986) (adopting “economic loss rule” under American maritime law).
24               At various times, Armada has alluded to a threatened claim by the Vessel’s
25   subcharterer, Bulkhandling Handysize, involving off-hire time, deadfreight, and lost time.
26   Armada has never included these categories of damages in a properly-pled claim for
27   indemnity, however, or as damages recoverable in Armada’s own name on any theory.
28   All of these categories of damages are also expressly excluded by ConocoPhillips’s



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 1   limitation of liability provisions in the contract of sale.
 2               ConocoPhillips has filed counterclaims alleging three closely-related theories
 3   of recovery. First, having accepted allegedly nonconform ing goods, Armada is liable
 4   to ConocoPhillips for the price of goods delivered and Armada has the burden of
 5   establishing its claim of setoff. Second, the failure to pay the agreed consideration is
 6   a total breach of contract because ConocoPhillips has fully performed its obligations
 7   and there are no grounds for claiming a setoff. Third, alternatively, even if the Court
 8   finds somehow that the product failed to meet contract specifications, it did have some
 9   market value for which ConocoPhillips is entitled to paym ent under a theory of quantum
10   valebant. The third claim can be dism issed as duplicative if judgment is entered in
11   ConocoPhillips’s favor on the first two counterclaims for relief.
12                                          CONCLUSION
13               ConocoPhillips is entitled to judgment in its favor on all claims and
14   counterclaims, together with an award of prejudgment interest, attorney’s fees, and
15   costs subject to proof by way of post-trial application and motion.
16                                                      Respectfully submitted,
17   Dated: April 27, 2007                              STEPHEN THOMAS ERB, APC
18                                                             /s/ Stephen Thomas Erb
19                                                      By: __________________________
                                                              Stephen Thomas Erb, Esq.
20                                                            Attorney for Defendant &
                                                              Counterclaimant
21                                                            ConocoPhillips Company
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